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UNITED STA TES DISTRICT COURT                                                DOC#:                 .
SOUTHERN DISTRICT OF NEW YORK
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MARQUERITE BAOAROZZI.
                                                    Plaintiff,       STIPULATION OF
                                                                     DISMISSAL WITH
                          -against-                                  tREJtJQJs;E
NEW YORK CITY DEPARTMENT OF EDUCATION;                               18 Civ. 4893 (RA)
SHOMARI AKIL, PRINCIPAL of QUEENS ACADEMY
HIGH SCHOOL; NATHIFA MORRIS, ASSISTANT
PRINCIPALofQUEENS ACADEMY HIGH SCHOOL.
                                                 Defendants.

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                 IT IS HEREBY STIPULATED AND AGREED by and between the parties as

represented below that, pursuant to Rule 41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure,

the above~captioned action is dismissed with prejudice as to all defendants without costs. fees. or

disbursements to any party. This stipulation may be tiled by either party without notice to the

other.

Dated: March ~ 2020
       New York, New York


GLASS HARLOW & HOGROGIAN                          JAMES E. JOHNSON
  LLP                                             Corporation Counsel of the
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By:          ~ /v-J;,        J/f.lJ.., {!!)

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